JS-CAND 44 (Rev. 10/2020)              Case 3:25-cv-02254                           Document 1-1                      Filed 03/05/25                       Page 1 of 1
                                                                               CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
          J.J., by and through their guardian Valeria Gallardo                                                 Epic Games, Inc.
   (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY) Wake County, North Carolina
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
      The Hoda Law Firm, PLLC, 3120 Southwest Fwy
      Ste 101 PMB 51811, Houston, TX 77098, 832-848-0036

II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                       and One Box for Defendant)
                                                                                                                                         PTF       DEF                                       PTF      DEF
      1    U.S. Government Plaintiff       3    Federal Question                                    Citizen of This State                  1        1       Incorporated or Principal Place      4      4
                                                (U.S. Government Not a Party)
                                                                                                                                                            of Business In This State
                                                                                                    Citizen of Another State             x2          2      Incorporated and Principal Place     5     x 5
      2    U.S. Government Defendant     x4      Diversity
                                               (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State
                                                                                                    Citizen or Subject of a                 3        3      Foreign Nation                       6       6
                                                                                                    Foreign Country

IV.          NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                   TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                     OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY                     625 Drug Related Seizure of         422 Appeal 28 USC § 158          375 False Claims Act
   120 Marine                                                                                                     Property 21 USC § 881           423 Withdrawal 28 USC            376 Qui Tam (31 USC
                                       310 Airplane                     365 Personal Injury – Product
   130 Miller Act                                                           Liability                         690 Other                               § 157                            § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                            367 Health Care/                                LABOR                       PROPERTY RIGHTS                400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of                                                          Pharmaceutical Personal                                                                                410 Antitrust
                                       330 Federal Employers’                                                 710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                       Injury Product Liability                                                                               430 Banks and Banking
                                           Liability                                                          720 Labor/Management                830 Patent
       Veteran’s Benefits                                               368 Asbestos Personal Injury                                                                               450 Commerce
                                       340 Marine                                                                 Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                         Product Liability
                                       345 Marine Product Liability                                           740 Railway Labor Act                   Drug Application             460 Deportation
   152 Recovery of Defaulted                                            PERSONAL PROPERTY                                                                                          470 Racketeer Influenced &
                                       350 Motor Vehicle              x 370 Other Fraud                       751 Family and Medical              840 Trademark
       Student Loans (Excludes                                                                                                                                                         Corrupt Organizations
                                       355 Motor Vehicle Product                                                  Leave Act                       880 Defend Trade Secrets
       Veterans)                                                        371 Truth in Lending
                                           Liability                                                          790 Other Labor Litigation              Act of 2016                  480 Consumer Credit
   153 Recovery of                                                      380 Other Personal Property
                                       360 Other Personal Injury                                              791 Employee Retirement                                              485 Telephone Consumer
       Overpayment                                                                                                                                 SOCIAL SECURITY
                                                                            Damage                                Income Security Act                                                  Protection Act
    of Veteran’s Benefits              362 Personal Injury -Medical                                                                               861 HIA (1395ff)
                                           Malpractice                  385 Property Damage Product                                                                                490 Cable/Sat TV
   160 Stockholders’ Suits                                                  Liability                               IMMIGRATION                   862 Black Lung (923)             850 Securities/Commodities/
   190 Other Contract                                                                                         462 Naturalization                  863 DIWC/DIWW (405(g))               Exchange
                                            CIVIL RIGHTS                   PRISONER PETITIONS
   195 Contract Product Liability                                                                                 Application                     864 SSID Title XVI
                                       440 Other Civil Rights                                                                                                                      890 Other Statutory Actions
                                                                              HABEAS CORPUS                   465 Other Immigration
   196 Franchise                                                                                                                                  865 RSI (405(g))                 891 Agricultural Acts
                                       441 Voting                          463 Alien Detainee                     Actions
          REAL PROPERTY                442 Employment                                                                                             FEDERAL TAX SUITS                893 Environmental Matters
                                                                           510 Motions to Vacate
   210 Land Condemnation               443 Housing/                            Sentence                                                           870 Taxes (U.S. Plaintiff or     895 Freedom of Information
                                           Accommodations                                                                                             Defendant)                       Act
   220 Foreclosure                                                         530 General
                                       445 Amer. w/Disabilities–                                                                                  871 IRS–Third Party 26 USC       896 Arbitration
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                  § 7609                      899 Administrative Procedure
   240 Torts to Land                                                                OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                  Act/Review or Appeal of
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                        Agency Decision
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights                                                                                        950 Constitutionality of State
                                                                           555 Prison Condition                                                                                        Statutes
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
x 1 Original                      2    Removed from              3      Remanded from           4   Reinstated or           5 Transferred from               6   Multidistrict         8 Multidistrict
          Proceeding                   State Court                      Appellate Court             Reopened                  Another District (specify)         Litigation–Transfer     Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 28 U.S.C. Section 1332(d) (Class Action Fairness Act)
             ACTION
                                Brief description of cause:
                                  Deceptive Advertising

VII.         REQUESTED IN               x CHECK IF THIS IS A CLASS ACTION                           DEMAND $ >$5,000,000.00                        CHECK YES only if demanded in complaint:
             COMPLAINT:                   UNDER RULE 23, Fed. R. Civ. P.                                                                           JURY DEMAND:          x Yes        No

VIII. RELATED CASE(S),                                   JUDGE                                                       DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                          SAN JOSE                         EUREKA-MCKINLEYVILLE

                2025-03-05                                                                                                                  /s/ Marshal J. Hoda
DATE                                                     SIGNATURE OF ATTORNEY OF RECORD
                       Print                            Save As...                                                                                                                     Reset
